Case 18-17604-mdc        Doc 66    Filed 08/24/20 Entered 08/24/20 17:26:59              Desc Main
                                   Document     Page 1 of 6



                 IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:                                  :
                                        : Case No.: 18-17604
Ross E. Baker                           : Chapter 13
                                        : Judge Magdeline D. Coleman
                              Debtor(s) : * * * * * * * * * * * * * * * * * * *
                                        :
Wells Fargo Bank, N.A., d/b/a Wells     : Date and Time of Hearing
Fargo Auto                              : September 22, 2020 at 10:30 a.m.
                               Movant, :
       vs                               : U.S. Bankruptcy Court
                                        : 900 Market Street, Courtroom #2
Ross E. Baker                           : Philadelphia, PA, 19107
Meaghan Maureen Baker                   :
                                        :
William C. Miller, Esq.
                              Respondents.

      MOTION OF WELLS FARGO BANK, N.A., D/B/A WELLS FARGO AUTO FOR
     RELIEF FROM THE AUTOMATIC STAY AND CO-DEBTOR STAY REGARDING
          THE PERSONAL PROPERTY KNOWN AS 2014 FORD FOCUS, VIN #
                           1FADP3K20EL317849

        Wells Fargo Bank, N.A., d/b/a Wells Fargo Auto (the "Creditor"), by and through the

undersigned counsel, files this Motion for Relief from the Automatic Stay and from the Co-

Debtor Stay pursuant to 11 U.S.C. § 362, 11 U.S.C. § 1301, and other sections of Title 11 of the

United States Code, and under Federal Rules of Bankruptcy Procedure 4001 and 6007 for an

order conditioning, modifying, annulling, or dissolving the automatic stay, averring as follows.

1.      This is an action arising pursuant to a case under Title 11 of the United States Code.

2.      Creditor is a lending institution duly authorized to conduct business in the

        Commonwealth of Pennsylvania.

3.      Creditor is a party-in-interest in the above referenced Bankruptcy matter as it is a secured

        creditor of the Debtor.




20-015317_KKC
Case 18-17604-mdc       Doc 66      Filed 08/24/20 Entered 08/24/20 17:26:59             Desc Main
                                    Document     Page 2 of 6



4.    The Court has jurisdiction over this matter under 28 U.S.C §§ 157 and 1334. This is a

      core proceeding under 28 U.S.C. § 157(b)(2). The venue of this case and this Motion is

      proper under 28 U.S.C. §§ 1408 and 1409.

5.    On May 3, 2016, Ross Baker (the "Debtor") and Meaghan Maureen Baker (the "Co-

      Debtor") obtained a loan from Wells Fargo Dealer Services in the amount of $14,791.43

      for the purchase of a 2014 Ford Focus VIN# 1FADP3K20EL317849 ("Collateral").

      Debtor agreed to make periodic payments in the amount of $298.45 to Wells Fargo

      Dealer Services. Such loan was evidenced by a Retail Installment Sale Contract Simple

      Finance Charge (the "Contract"), a copy of which is attached hereto as Exhibit A.

6.    To secure payment of the Contract, Debtor delivered the Lien and Title Information for a

      Vehicle to the Collateral to Creditor or Creditor's predecessor-in-interest. On or about

      May 10, 2016, Creditor or Creditor's predecessor-in-interest perfected its security interest

      in the Collateral by delivering the Lien and Title Information for a Vehicle along with the

      appropriate application and fees to the Department of Transportation of the

      Commonwealth in accordance with Pa.C.S. § 1132.1(a). As a result, Creditor has a valid

      security interest in the Collateral. A copy of the electronic title inquiry is attached hereto

      as Exhibit B (the "Title").

7.    Creditor believes the value of the Collateral $7,025.00 based upon NADA, a copy of

      which is attached hereto as Exhibit C.

8.    On November 15, 2018, Debtor filed a voluntary petition for relief under Chapter 13 of

      the United States Bankruptcy Code ("Petition").

9.    There are no claimed exemptions against the vehicle on Schedule C.




20-015317_KKC
Case 18-17604-mdc       Doc 66    Filed 08/24/20 Entered 08/24/20 17:26:59              Desc Main
                                  Document     Page 3 of 6



10.   Post-petition payments have not been received, therefore no post-petition payment history

      is attached.

11.   Debtor's Chapter 13 Plan calls for the Debtor to retain the Vehicle.

12.   Debtor and Co-Debtor have failed to make full post-petition payments for the past 21

      months as of August 13, 2020 and is in default in the amount of $6,249.78.

13.   The loan was charged off on February 15, 2019 and the full balance is now due.

14.   As of August 13, 2020, there is currently due and owing on the Contract the outstanding

      principal balance of $10,616.17. This amount is broken down as follows:


                                      Total Loan Balance

                Description                                           Amount
            Charge Off Balance                                       $10,616.17
          Charge Off Interest Due                                     $458.60
             Escrow advance                                             $0.00
        Charge Off Late Charge Due                                     $17.67
                Other Fees                                              $0.00
      Less Contractual Suspense Funds                                  $(0.00)

                                       Total: $11,092.44


15.   Creditor seeks relief from the automatic stay pursuant to 11 U.S.C. § 362(d) to proceed

      under applicable non-bankruptcy law to enforce its remedies to repossess and sell the

      Collateral.

16.   Creditor is entitled to relief from the automatic stay for the following reason(s):

      a.      Creditor lacks adequate protection of its secured interest in the Collateral pursuant
              to 11 USC § 362(d)(1) as a result of Debtor's failure to make payments when due.

      b.      Debtor and Co-Debtor have no equity in the Collateral, and the Debtor does not
              need the Collateral for an effective reorganization pursuant to 11 USC §
              362(d)(2). Debtor's outstanding balance exceeds the value of the Collateral.



20-015317_KKC
Case 18-17604-mdc        Doc 66    Filed 08/24/20 Entered 08/24/20 17:26:59              Desc Main
                                   Document     Page 4 of 6



               Based upon the lack of equity in the Collateral, Creditor asserts that the Collateral
               is burdensome and/or of inconsequential value and benefit to the estate.

       WHEREFORE, Wells Fargo Bank, N.A., d/b/a Wells Fargo Auto respectfully requests

this Honorable Court to enter an order terminating the Automatic stay and the Co-Debtor Stay as

it affects the interests of Wells Fargo Bank, N.A., d/b/a Wells Fargo Auto in the Collateral and

granting such other relief as this Honorable Court may deem just.

                                                     Respectfully submitted,

                                                       /s/ Karina Velter
                                                     Karina Velter, Esquire (94781)
                                                     Adam B. Hall (323867)
                                                     Sarah E. Barngrover (323972)
                                                     Manley Deas Kochalski LLC
                                                     P.O. Box 165028
                                                     Columbus, OH 43216-5028
                                                     Telephone: 614-220-5611
                                                     Fax: 614-627-8181
                                                     Attorneys for Creditor
                                                     The case attorney for this file is Karina
                                                     Velter.
                                                     Contact email is kvelter@manleydeas.com




20-015317_KKC
Case 18-17604-mdc       Doc 66    Filed 08/24/20 Entered 08/24/20 17:26:59            Desc Main
                                  Document     Page 5 of 6




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Meaghan Maureen Baker                   :
                                        :
William C. Miller, Esq.
                             Respondents.

                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Motion for Relief from the

Automatic Stay and Co-Debtor Stay was served on the parties listed below via e-mail

notification:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   William C. Miller, Esq., Chapter 13 Trustee, P.O. Box 1229, Philadelphia, PA 19105,
   ecfemails@ph13trustee.com

   Brad J. Sadek, Attorney for Ross E. Baker, Sadek and Cooper, 1315 Walnut Street, Suite 502,
   Philadelphia, PA 19107, brad@sadeklaw.com

The below listed parties were served via regular U.S. Mail, postage prepaid, on
_______________,
August 24          2020:

   Ross E. Baker and Meaghan Maureen Baker, 1546 Webber Drive, Linwood, PA 19061


       August 24, 2020
DATE: ______________________
                                                     /s/ Karina Velter
                                                    Karina Velter, Esquire (94781)


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20-015317_KKC
